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                    7

                    8

                    9                                  UNITED STATES DISTRICT COURT

                   10                  NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                   11

                   12 JOSEPH VALLEJO, VICTOR                             Case No. 5:24-cv-06835-NW
                      ESPERICUETA and CHRISTOPHER JONES
                   13 on behalf of themselves and all others             MEMORANDUM OF POINTS AND
                      similarly situated,                                AUTHORITIES IN SUPPORT OF
                   14                                                    SUNNYSLOPE COUNTY WATER
                                      Plaintiff,                         DISTRICT’S MOTION TO DISMISS THE
                   15                                                    NEIL JONES FOOD COMPANY DBA
                              vs.                                        SAN BENITO FOODS CROSS-
                   16                                                    COMPLAINT
                      THE NEIL JONES FOOD COMPANY, dba
                   17 SAN BENITO FOODS,                                  Date:   October 1, 2025
                                                                         Time:   9:00 a.m.
                   18                     Defendant.                     Crtrm.: 3 – 5th Floor

                   19                                                    Trial Date:        None Set
                      THE NEIL JONES FOOD COMPANY, dba
                   20 SAN BENITO FOODS,

                   21                     Cross-Complainant,
                   22            vs.
                   23 SUNNYSLOPE COUNTY WATER
                      DISTRICT, a proprietary entity; ROES 1-10,
                   24 inclusive,
                   25                     Cross-Defendant.
                   26

                   27 / / /

                   28 / / /
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                    1 I.       SUMMARY

                    2          Defendant/Cross-Complainant Neil Jones Food Company (“NJFC”) has sued Cross-

                    3 Defendant Sunnyslope County Water District (“SCWD”) alleging six state common law causes of
                    4 action. As a public entity, SCWD can only be liable as a matter of law for violations of a statute.

                    5 Stated differently, a public entity under California state law cannot be liable for a common law

                    6 claim.    As a result, NJFC’s third cause of action for Equitable Indemnity, fourth cause of action
                    7 for Comparative Equitable Indemnity, fifth cause of action for Contribution, and sixth cause of

                    8 action for Declaratory Relief, all fail as a matter of law.

                    9 II.      THE CROSS-COMPLAINT PARTIES AND CAUSES OF ACTION

                   10          Cross-Complainant NJFC is a Washington corporation organized under the laws of the
                   11 State of Washington. (Cross-Complaint (“XC”) ¶ 6) It is the owner and operator of a food

                   12 processing facility in Hollister, CA at 110 Hawkins Street. (XC ¶ 5) SCWD processes the

                   13 wastewater from the NJFC facility at a wastewater treatment plant located at 1321 South Street

                   14 Hollister, CA. (XC ¶5) According to the NJFC Cross-Complaint, SCWD is a California
                   15 entity/governmental entity authorized to conduct business in the State of California. (XC ¶10)

                   16          The Cross-Complaint alleges six causes of action: 1) Breach of Written Contract, 2)

                   17 Express Indemnity, 3) Equitable Indemnity, 4) Comparative Equitable Indemnity, 5) Contribution,
                   18 and 6) Declaratory Relief. Causes of action three (3) through six (6) are the subject of this Motion

                   19 to Dismiss.

                   20 III.     LEGAL STANDARD ON FRCP RULE 12(B)(6) MOTION TO DISMISS

                   21          A party may respond to a complaint by bringing a motion to dismiss for “failure to state a
                   22 claim upon which relief can be granted.” FRCP 12(b)(6). Such a motion tests the legal sufficiency

                   23 of a claim. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). Although a court ruling on such

                   24 a motion must accept as true facts alleged in the complaint, it is not required to accept as true
                   25 conclusory allegations or legal conclusions. Parks School of Business, Inc. v. Symington, 51 F.3d

                   26 1480, 1484 (9th Cir. 1995); Davis v. Astrue, 513 F. Supp.2d 1137, 1143 (N.D. Cal.2007).

                   27          When an affirmative defense – such as a failure to state a statutory basis for liability – is

                   28 clear on the face of a complaint or cross-complaint, a defendant is entitled to dismissal of those
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                    1 causes of action on a Rule 12(b)(6) motion to dismiss. (Rivera v. Peri & Sons Farms, Inc., 735

                    2 F.3d 892, 902 (9th Cir. 2013); Cedars-Sinai Med. Ctr. v. Shalala, 177 F.3d 1126, 1128-29 (9th

                    3 Cir.1999) (citing 5B Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure:
                    4 Civil § 1357 (3d ed. 1998) (“A complaint showing that the governing statute of limitations has run

                    5 on the plaintiff’s claim for relief is the most common situation in which the affirmative defense

                    6 appears on the face of the pleading and provides a basis for a motion to dismiss under Rule
                    7 12(b)(6) …”)).

                    8            When, as here, there are well-pleaded factual allegations, a court should assume their

                    9 veracity and then determine whether they plausibly give rise to an entitlement to relief. Ashcroft v.

                   10 Iqbal, 556 U.S. 662, 679 (2009). Although the general rule is that plaintiffs should be granted
                   11 leave to amend complaints that have been dismissed pursuant to a Rule 12(b)(6) motion, that

                   12 general rule “does not extend to cases in which any amendment would be an exercise in futility, or

                   13 where the amended complaint would also be subject to dismissal.” Enriquez v. Aurora Loan

                   14 Servs., LLC, 509 F.App’x 607, 608 (9th Cir. 2013).
                   15 IV.        LEGAL ARGUMENT

                   16            a. Cross-Complaint Fails to State Facts Sufficient to Constitute a Cause of Action Against

                   17                 SCWD Because There is No Allegation that SCWD Violated a Statute.
                   18            The California Government Code sets forth a comprehensive statutory liability scheme

                   19 known as the California Tort Claims Act (“Tort Claims Act”). The Tort Claims Act sets forth

                   20 specific claims and immunities applicable to California public entities. As it applies to this case,

                   21 Government Code section 815(a) states:
                   22                    Except as otherwise provided by statute:

                   23                    (a) A public entity is not liable for an injury, whether such injury arises out
                                         of an act or omission of the public entity or a public employee or any other
                   24                    person.
                   25            The opening portion of the statute is the most crucial, “Except as otherwise provided by

                   26 statute…” The California courts have consistently held that this language means that in order to

                   27 impose liability upon a public entity, there must be a specific statute that establishes a duty of care

                   28 owed to the plaintiff.
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                    1            In Hoff v. Vacaville Unified School District (1998) 19 Cal.4th 925, the California Supreme

                    2 Court confirmed this principle:

                    3                   Under the California Tort Claims Act (Gov. Code, § 810 et seq.), “a public
                                        entity is not liable for injury arising from an act or omission except as
                    4                   provided by statute. (Gov. Code, §815, subd. (a); [citation].)” [citations]
                                        Thus, in California, “all government tort liability must be based on statute
                    5                   [citation].” (Lopez v. Southern Cal. Rapid Transit Dist. (1985) 40 Cal. 3d
                                        780, 785, fn. 2 [221 Cal. Rptr. 840, 710 P.2d 907].) " ‘In the absence of a
                    6                   constitutional requirement, public entities may be held liable only if a
                                        statute ... is found declaring them to be liable.' " (County of Sacramento v.
                    7                   Superior Court (1972) 8 Cal. 3d 479, 481 [105 Cal. Rptr. 374, 503 P.2d
                                        1382].)
                    8
                        Id. at 925 (internal footnote and some citations omitted).
                    9
                                        b. NJFC’s Cross-Complaint Alleges that SCWD is a Public Entity But Fails to
                   10
                                            Allege Any Statute that It Has Allegedly Violated.
                   11
                                 NJFC’s Cross-Complaint acknowledges that SCWD is a public entity (XC ¶ 10). Nowhere
                   12
                        within the Cross-Complaint’s allegations are there any references to a statute that might impose
                   13
                        liability on SCWD. Instead, the four common law causes of action (3-6) assert exactly that,
                   14
                        common law claims without any reference to a statutory duty. As a result, the four common law
                   15
                        claims fail to state a cause of action as a matter of law and the Court should grant SCWD’s motion
                   16
                        to dismiss.
                   17
                        V.       CONCLUSION
                   18
                                 For the reasons stated above, SCWD requests that the Court grant its Motion to Dismiss.
                   19
                        DATED: June 17, 2025                       LEWIS BRISBOIS BISGAARD & SMITH LLP
                   20

                   21
                   22                                              By:          /s/ Joseph A. Salazar, Jr.
                                                                         JOSEPH A. SALAZAR JR.
                   23                                                    Attorneys for Cross-Defendant, SUNNYSLOPE
                                                                         COUNTY WATER DISTRICT
                   24
                   25

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                    1                              FEDERAL COURT PROOF OF SERVICE
                                            Joseph Vallejo, et al. v. The Neil Jones Food Company, et al.
                    2                                       Case No. 5:24-cv-06835-NW

                    3 STATE OF CALIFORNIA, COUNTY OF SACRAMENTO
                    4        At the time of service, I was over 18 years of age and not a party to the action. My
                      business address is 2020 West El Camino Avenue, Suite 700, Sacramento, CA 95833. I am
                    5 employed in the office of a member of the bar of this Court at whose direction the service was
                      made.
                    6
                             On June 17, 2025, I served the following document(s):
                    7
                             - MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                    8            SUNNYSLOPE COUNTY WATER DISTRICT’S MOTION TO DISMISS THE
                                 NEIL JONES FOOD COMPANY DBA SAN BENITO FOODS CROSS-
                    9            COMPLAINT

                   10         I served the documents on the following persons at the following addresses (including fax
                        numbers and e-mail addresses, if applicable):
                   11
                                                       SEE ATTACHED SERVICE LIST
                   12
                                 The documents were served by the following means:
                   13
                                (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed the
                   14            documents with the Clerk of the Court using the CM/ECF system, which sent notification
                                 of that filing to the persons listed above.
                   15
                              I declare under penalty of perjury under the laws of the United States of America and the
                   16 State of California that the foregoing is true and correct.

                   17            Executed on June 17, 2025, at Sacramento, California.
                   18

                   19                                                            /s/ Alicia Crespo
                                                                          Alicia Crespo
                   20

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                    1                                           SERVICE LIST
                                        Joseph Vallejo, et al. v. The Neil Jones Food Company, et al.
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